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                                             YUGA LABS, INC.
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                                          15                              UNITED STATES DISTRICT COURT
                                          16                            CENTRAL DISTRICT OF CALIFORNIA
                                          17                              WESTERN DIVISION – Los Angeles
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                                          19 YUGA LABS, INC.,                                 Case No.: 2:22-cv-04355-JFW-JEM
                                          20                        Plaintiff and             JOINT SET OF EXHIBITS
                                                                    Counterclaim Defendant,
                                          21
                                                       v.
                                          22                                                  Date:        April 17, 2023
                                          23 RYDER RIPPS, JEREMY CAHEN,                       Time:
                                                                                              Courtroom:
                                                                                                           1:30 p.m.
                                                                                                           7A
                                          24             Defendants and                       Judge:       Honorable John F. Walter
                                                         Counterclaim Plaintiffs.
                                          25                                                  Trial Date: June 27, 2023
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